        Case 23-11149-pmm                           Doc         Filed 02/09/24 Entered 02/09/24 09:37:15                                     Desc Main
 Fill in this information to identify the case:                 Document      Page 1 of 7
 Debtor 1              Robert A. McKelvy
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District       of __________
                                                          of Pennsylvania
                                                       District

 Case number            23-11149-PMM
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                                      12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               UMB Bank, National Association, not in its individual capacity,
                               but solely as legal title trustee for LVS Title Trust XIII
 Name of creditor: _______________________________________                                                                      7
                                                                                                   Court claim no. (if known): _____________________

 Last 4 digits of any number you use to                                                            Date of payment change:
 identify the debtor’s account:                                 3 ____
                                                               ____ 9 ____
                                                                        2 ____
                                                                            8                      Must be at least 21 days after date       03/01/2024
                                                                                                                                             _____________
                                                                                                   of this notice


                                                                                                   New total payment:                              1,612.91
                                                                                                                                             $ ____________
                                                                                                   Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    548.95
                   Current escrow payment: $ _______________                                     New escrow payment:                   815.01
                                                                                                                             $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:             _______________%                           New interest rate:          _______________%

                   Current principal and interest payment: $ _______________                     New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔ No
      
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                                   New mortgage payment: $ _______________


Official Form 410S1                                                 Notice of Mortgage Payment Change                                                 page 1
      Case 23-11149-pmm                              Doc          Filed 02/09/24 Entered 02/09/24 09:37:15                           Desc Main
                                                                  Document      Page 2 of 7

Debtor 1         Robert    A. McKelvy
                 _______________________________________________________                                           23-11149-PMM
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     ✔ I am the creditor’s authorized agent.
     


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/ Stephen H. Hladik, Esquire
     _____________________________________________________________
     Signature
                                                                                               Date    02/09/2024
                                                                                                       ___________________




 Print:             Stephen H. Hladik
                    _________________________________________________________                  Title   Attorney
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Hladik, Onorato & Federman, LLP
                    _________________________________________________________



 Address            298 Wissahickon Avenue
                    _________________________________________________________
                    Number                 Street

                    North Wales                      PA      19454
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      215-855-9521
                    ________________________                                                            shladik@hoflawgroup.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
(Page 1   of   4)

Case 23-11149-pmm                     Doc          Filed 02/09/24 Entered 02/09/24 09:37:15                                       Desc Main
                                                   Document      Page   3 of 7
                                                                  01/10/2024   OUR INFO
                                    RETURN SERVICE ONLY                                                ONLINE
                                    PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                    PO Box 818060                                                      www.rushmoreservicing.com
                                    5801 Postal Road
                                    Cleveland, OH 44181

                                                                                                       YOUR INFO
                                                                                                       CASE NUMBER
                                                                                                       2311149

                                                                                                       LOAN NUMBER
     ROBERT MCKELVY
     1411 E CARDEZA ST
                                                                                                       PROPERTY ADDRESS
     PHILADELPHIA,PA 19150
                                                                                                       1411 E CARDEZA ST
                                                                                                       PHILADELPHIA, PA 19150




     Dear ROBERT MCKELVY,

     An escrow analysis was performed on the above referenced account.

     Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escrow account disclosure
     statement is for informational purposes only and should not be construed as an attempt to collect a debt.

     If you are represented by an attorney in your bankruptcy, please forward a copy of this letter to such attorney and
     provide such attorney’s name, address and telephone number to us.

     If you have any questions, please call our Bankruptcy Department at 877-888-4623. Our hours of operation are Monday
     through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.rushmoreservicing.com for more information.

     Sincerely,

     Rushmore Servicing

     Enclosure




     Rushmore ServicingSM and Mr. Cooper® are brand names for Nationstar Mortgage LLC.
     Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
     collect, assess, or recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy
     Code. If this account has been discharged in a bankruptcy proceeding, be advised this communication is for
     informational purposes only and not an attempt to collect a debt against you; however, the servicer/lender reserves
     the right to exercise the legal rights only against the property securing the loan obligation, including the right to
     foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an attempt
     to collect against the borrower personally or an attempt to revive personal liability.
     If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a
     borrower on the loan) that has not assumed, or otherwise become obligated on the debt, this communication is for
     informational purposes only and is not an attempt to collect a debt from you personally.

                                                                                                                                      DOL
(Page 2   of   4)

Case 23-11149-pmm   Doc   Filed 02/09/24 Entered 02/09/24 09:37:15   Desc Main
                          Document      Page 4 of 7
(Page 3   of   4)

Case 23-11149-pmm                      Doc          Filed 02/09/24 Entered 02/09/24 09:37:15 Desc Main
                                                    Document      Page Escrow
                                                                       5 of 7 Account Disclosure Statement
                                     RETURN SERVICE ONLY
                                     PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                     PO Box 818060
                                     5801 Postal Road                                    Customer Service: 877-888-4606
                                     Cleveland, OH 44181
                                                                                         Monday through Friday from 7 a.m. to 8 p.m. (CT)


                                                                                         Tax/Insurance: 800-303-2513
                                                                                         Monday through Friday from 8 a.m. to 9 p.m. (ET)

                                                                                         Your Loan Number:
     ROBERT MCKELVY
                                                                                         Statement Date: 01/10/2024
     1411 E CARDEZA ST
     PHILADELPHIA,PA 19150




           Why am I         Rushmore Servicing completed an analysis of your escrow account to ensure that the account is funded
      receiving this?       correctly, determine any surplus or shortage, and adjust your monthly payment accordingly. Rushmore
                            Servicing maintains an escrow cushion equal to two months' estimated taxes and insurance (unless limited by
                            your loan documents or state law). This measure helps to avoid negative balance in the event of changing tax
                            and insurance amounts.

     What does this         At this time, your Escrow Account has less money than needed and there is a shortage of $3,192.69. Due to this
      mean for me?          shortage and changes in your taxes and insurance premiums, your monthly escrow payment will decrease
                            by $0.00. Effective 03/01/2024, your new total monthly payment** will be $1,612.91.
                                                                   Current Monthly                                           New Monthly
      Total Payment                                                       Payment           Payment Changes                     Payment
      PRINCIPAL AND INTEREST                                                $797.90                       $0.00                   $797.90
      ESCROW                                                                $548.95                       $0.00                   $548.95
      SHORTAGE SPREAD                                                         $0.00                     $266.06                   $266.06
      Total Payment                                                       $1,346.85                     $266.06                  $1,612.91
      See below for shortage calculation
     What is a Shortage? A shortage is the difference between the lowest projected balance of your account for the coming year and
     your minimum required balance. To prevent a negative balance, the total annual shortage is divided by 12 months and added to
     your monthly escrow payment, as shown below.

                    Minimum Required Balance                                                      Lowest Projected Balance
                               $1,097.90                                                                    ($2,094.79)


                                                              $3,192.69 / 12 = $266.06
                             Please see the Coming Year Projections table on the back for more details
      Escrow Payment                                         Current Annual                                               Anticipated Annual
      Breakdown                                                Disbursement          Annual Change
                                                                                                                               Disbursement
      CITY TAX                                                          $0.00                $2,127.70                               $2,127.70
      HAZARD SFR                                                        $0.00               $4,459.72                               $4,459.72
      Annual Total                                                      $0.00              $6,587.42                                $6,587.42
     If you have questions about changes to your property taxes or homeowners’ insurance premiums, please contact your local taxing authority or
     insurance provider. For more information about your loan, please sign in at www.rushmoreservicing.com.




     Rushmore ServicingSM and Mr. Cooper® are brand names for Nationstar Mortgage LLC.
     Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
     collect, assess, or recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy
     Code. If this account has been discharged in a bankruptcy proceeding, be advised this communication is for
     informational purposes only and not an attempt to collect a debt against you; however, the servicer/lender reserves
     the right to exercise the legal rights only against the property securing the loan obligation, including the right to
     foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an attempt
     to collect against the borrower personally or an attempt to revive personal liability.
     If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a
     borrower on the loan) that has not assumed, or otherwise become obligated on the debt, this communication is for
     informational purposes only and is not an attempt to collect a debt from you personally.




                                                This Area Intentionally Left Blank
                                           This statement is for informational purposes only.




                                                                                                                                                   SHRT
(Page 4     of   4)

Case 23-11149-pmm                          Doc          Filed 02/09/24 Entered 02/09/24 09:37:15                                                 Desc Main
                                                        Document      Page 6 of 7
     The change in your escrow payment** may be based on one or more of the following factors:
     PAYMENT(S)                                           TAXES                                              INSURANCE
      Monthly payment(s) received were less than          Tax rate and/or assessed value changed            Premium changed
          or greater than expected                         Exemption status lost or changed                  Coverage changed
      Monthly payment(s) received earlier or later        Supplemental/Delinquent tax paid                  Additional premium paid
          than expected                                    Paid earlier or later than expected               Paid earlier or later than expected
      Previous overage returned to escrow                 Tax installment not paid                          Premium was not paid
      Previous deﬁciency/shortage not paid entirely       Tax refund received                               Premium refund received
                                                           New tax escrow requirement paid                   New insurance escrow requirement paid
                                                                                                              Force placed insurance premium paid

                                          Prior Year Account History and Coming Year Projections
     This is a statement of the actual activity in your escrow account from 10/23 through 02/24. This statement itemizes your actual
     escrow account transactions since your previous analysis statement or initial disclosure, and projects payments,
     disbursements, and balances for the coming year. The projections from your previous escrow analysis are included with the actual
     payments and disbursements for the prior year. By comparing the actual escrow payment with the previous projections listed, you
     can determine where a difference may have occurred. When applicable, the letter 'E' beside an amount indicates that a payment or
     disbursement has not yet occurred but is estimated to occur as shown.
     Projections are included to ensure sufﬁcient funds are available to pay your taxes and/or insurance for the coming year.Under
     Federal Law (RESPA), the lowest monthly balance in your escrow account should be no less than $1,097.90 or 1/6th of the total annual
     projected disbursement from your escrow account, unless your mortgage documents or state law speciﬁes otherwise. Your projected
     estimated lowest account balance of ($2,094.79) will be reached in April 2024. When subtracted from your minimum required balance
     of $1,097.90, an Escrow Shortage results in the amount of $3,192.69. These amounts are indicated with an arrow (<).
     This escrow analysis is based on the assumption that all escrow advances made on your loan prior to your bankruptcy ﬁling
     date are included in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other
     amounts that will come due after the ﬁling of your bankruptcy case.

                 Projected       Actual          Projected             Actual                       Description                Projected           Actual
     Month       Payment        Payment        Disbursement        Disbursement                                                 Balance           Balance
                                                                                                         Start                     $0.00               $0.00
      10/23           $0.00         $0.00                 $0.00        $20,632.94*     *              Esc pay adj                    $0.00      ($20,632.94)
      01/24           $0.00       $441.39E                $0.00             $0.00          Anticipated Payments 12/19-12/19          $0.00       ($20,191.55)
      01/24           $0.00      $23,037.33E              $0.00             $0.00          Anticipated Payments 01/20-01/24          $0.00         $2,845.78
      02/24           $0.00       $548.95E                $0.00             $0.00                                                    $0.00         $3,394.73
      Total             $0.00   $24,027.67                $0.00         $20,632.94                      Total                        $0.00        $3,394.73
                 Projected                       Projected                                                                       Current        Required
                 Payment                       Disbursement                                         Description                  Balance         Balance
     Month                                                                                                                                      Projected
                                                                                                        Start                   $3,394.73         $6,587.42
      03/24         $548.95                            $2,127.70                                      CITY TAX                     $1,815.98      $5,008.67
      04/24         $548.95                           $4,459.72                                     HAZARD SFR                  ($2,094.79)       $1,097.90<
      05/24         $548.95                               $0.00                                                                  ($1,545.84)       $1,646.85
      06/24         $548.95                               $0.00                                                                   ($996.89)        $2,195.80
      07/24         $548.95                               $0.00                                                                   ($447.94)        $2,744.75
      08/24         $548.95                               $0.00                                                                       $101.01      $3,293.70
      09/24         $548.95                               $0.00                                                                     $649.96        $3,842.65
      10/24         $548.95                               $0.00                                                                     $1,198.91      $4,391.60
      11/24         $548.95                               $0.00                                                                    $1,747.86      $4,940.55
      12/24         $548.95                               $0.00                                                                    $2,296.81      $5,489.50
      01/25         $548.95                               $0.00                                                                   $2,845.76       $6,038.45
      02/25         $548.95                               $0.00                                                                    $3,394.71      $6,587.40
      Total       $6,587.40                           $6,587.42                                         Total                     $3,394.71       $6,587.40

     Bankruptcy Adjustment- The Prior Year Account History and Coming Year Projections section of the Annual Escrow Account
     Disclosure Statement may contain a line item called "Bankruptcy Adjustment". This amount is a credit based upon the unpaid portion
     of the escrow funds listed on the proof of claim to be paid through the Chapter 13 plan. The amount of the credit is calculated and
     applied to reach the minimum required balance for the escrow account as allowed under the loan documents and applicable
     non-bankruptcy law. The credit may not represent the total outstanding amount of escrow funds owed in the proof of claim but
     ensures that any escrow funds listed on the proof of claim to be paid through the plan will not be collected through the escrow
     shortage or surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of or
     surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of claim escrow
     funds are listed as a credit to reach the required minimum account balance.
     You will receive an Annual Escrow Account Disclosure Statement reﬂecting the actual disbursements at the end of the next escrow
     analysis cycle. However, you should keep this statement for your own records for comparison. If a previous escrow analysis statement
     was sent to you by your previous servicer, please refer to that statement for comparison purposes. If you have any questions, please
     call Tierra Roberson at (877)-888-4623. Our hours of operation are Monday through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web
     at www.rushmoreservicing.com for more information.
     Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.
Case 23-11149-pmm          Doc      Filed 02/09/24 Entered 02/09/24 09:37:15          Desc Main
                                    Document      Page 7 of 7

                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                            : Bankruptcy No. 23-11149-PMM
Robert A. McKelvy                                 : Chapter 13
                        Debtor                    :
                                                  :
                                                  :
UMB Bank, National Association, not in its        :
individual capacity, but solely as legal title    :
trustee for LVS Title Trust XIII                  :
                       Movant                     :
               vs.                                :
                                                  :
Robert A. McKelvy                                 :
                       Debtor/Respondent          :
             and                                  :
Kenneth E. West, Esquire                          :
                    Trustee/Respondent            :

                                   CERTIFICATE OF SERVICE

    I, Stephen M. Hladik, Esquire, hereby certify that on 02/09/2024, I have served a copy of this
Notice and all attachments to the following by U.S. Mail, postage pre paid and/or via filing with
the US Bankruptcy Court’s CM ECF system.

 Michael A. Cibik, Esquire                   Robert A. McKelvy
 Via ECF                                     1411 E. Cardeza Street
 Attorney for Debtor                         Philadelphia, PA 19150
                                             Via First Class Mail
 Kenneth E. West, Esquire                    Debtor
 Via ECF
 Trustee

                                                  /s/ Stephen M. Hladik, Esquire
                                                  Stephen M. Hladik, Esquire
                                                  Hladik, Onorato & Federman, LLP
                                                  Attorney I.D. # 66287
                                                  298 Wissahickon Avenue
                                                  North Wales, PA 19454
                                                  Phone 215-855-9521
                                                  Email: shladik@hoflawgroup.com
